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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



     DALANEA TAYLOR, et al.,

           Plaintiff,

     v.                                         CASE NO. 8:21-cv-555-SDM-CPT

     CHRIS NOCCO,

           Defendant.
     __________________________________/


                                          ORDER

           The joint motion (Doc. 162) to extend the time within which to respond to the

     motions (Docs. 161, 162) for summary judgment is GRANTED. Not later than

     JULY 25, 2022, each party may respond to the opposing party’s motion for

     summary judgment. Each party may reply not later than AUGUST 8, 2022. No

     further extension is available.

           ORDERED in Tampa, Florida, on July 18, 2022.
